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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

PUMA BIOTECHNOLOGY, INC. and                      )
WYETH LLC,                                        )
                                                  )
                Plaintiffs,                       )
                                                  )
        v.                                        )      C.A. No. 21-1338 (MFK)
                                                  )
ASTRAZENECA PHARMACEUTICALS                       )
LP and ASTRAZENECA AB,                            )
                                                  )
                Defendants.                       )


                                   JOINT STATUS REPORT

                Pursuant to the Court’s Order dated July 8, 2022, the parties hereby submit this

joint status report.

1.      Discovery

                The parties continue to engage in discovery.        Both parties have served and

responded to requests for production of documents and second sets of interrogatories. The parties

have exchanged letters addressing the alleged deficiencies in the responses to each party’s

discovery requests. The parties continue to confer regarding these discovery responses. At this

time, the parties do not have any disputes that require the Court’s attention. Pursuant to the

Scheduling Order (D.I. 30), Plaintiffs served their Opening Claim Construction Brief and

associated papers on September 2, 2022.

2.      Other Pre-Trial Proceedings

                Each side has motions for admission pro hac vice pending. See D.I. 52; 70. The

parties have no additional matters to bring to the Court’s attention at this time.
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3.     Settlement Discussions

              Although the parties engaged in preliminary, pre-suit discussions, the parties have

not reached any settlement.


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September 8, 2022




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